Law Offices

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Attorneys for Defendant

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

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JOHN GUGLIELMO and CRAIG WILHELMY.

on behalf of themselves, individually,

and on behalf of all others similarly situated,

Plaintiffs,
Vv. : 15-CV-3117 (ADS)
THE CHEESECAKE FACTORY RESTAURANTS, INC., :

Defendant.

DECLARATION OF LAURIE LAMBERT-GAFFNEY

LAURIE LAMBERT-GAFFNEY, declares under penalty of perjury, pursuant to 28
U.S.C. § 1746, that the following is true and correct:

1. I am over 18 years of age and am competent to make this Declaration.

2. lam currently employed by The Cheesecake Factory Restaurants, Inc.
(“Cheesecake Factory” or the “Company”) as Vice President ~ Field Staff Relations.

3. Through my role as Vice President — Field Staff Relations I have knowledge of
the hiring process for new employees and the agreements entered into by such new employees.

4, I am familiar with the facts and circumstances of this matter, and I make the
representations herein based upon my personal knowledge and/or upon my review of documents
and/or other records created and kept in the normal course of business by the Company and to

which I have access in the course of my role as Vice President.

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5, Attached at Exhibit 1 is a true and correct copy of the arbitration agreement
Thomas J. Motyka entered into when hired by Cheesecake Factory. This Arbitration Agreement
(the “A oreement”) is the same Agreement applicable to all employees hired on or after May 1,
2013, and by which they are intended to be bound.

6. It is a term and condition of employment that employees hired on or after May 1,
2013 agree to be bound by the Agreement. Employees hired before May 1, 2013, are not subject
to the Agreement.

7. Under the Agreement, employees are able to opt-out of the class and collective
action waiver contained in the Agreement. However, since initially implementing the
Agreement on May 1, 2013, no staff member, including Thomas Motyka, has submitted a
request to opt-out of this waiver.

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Executed this 4 7 day of September, 2014 in:
Los Angeles County, CA

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LAURIE LAMBERT-GAFFNEY

